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                 4                                  UNITED STATES DISTRICT COURT
                 5                                         DISTRICT OF NEVADA
                 6                                                    ***
                 7      UNITED STATES OF AMERICA,                            Case No. 2:13-CR-18 JCM (GWF)
                 8                                           Plaintiff(s),                     ORDER
                 9             v.
               10       LEON BENZER, et al.,
               11                                          Defendant(s).
               12
               13              Presently before the court is defendant Keith Gregory’s (hereinafter “defendant”) motion
               14       to reconsider denial of his motion to sever trial. (Doc. # 442). The government filed a response.
               15       (Doc. # 446).
               16              On August 5, 2014, defendant filed a motion to sever trial with co-defendant Leon
               17       Benzer. (Doc. # 328). On December 8, 2014, Magistrate Judge Foley denied defendant’s
               18       motion to sever without prejudice. (Doc. # 432). On December 22, 2014, defendant filed the
               19       instant motion to reconsider.
               20              On January 23, 2015, defendant Benzer pled guilty to all counts of the indictments
               21       against him. As a result, the court will deny defendant’s motion as moot.
               22       ...
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               24       ...
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               26       ...
               27       ...
               28       ...

James C. Mahan
U.S. District Judge
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                1            Accordingly,
                2            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that defendant’s motion to
                3     reconsider, (doc. # 442), be, and the same hereby is, DENIED as moot.
                4            DATED January 27, 2015.
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                6                                         ___________________________________________
                                                          UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                -2-
